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                    APPENDIX C
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                               Biographies of PJT Professionals

   Michael Genereux. Michael Genereux is a Partner in the Restructuring and Special
    Situations Group at PJT Partners LP. Mr. Genereux has worked on a variety of restructuring
    assignments involving various companies, including Allied Holdings, Bally Total Fitness,
    Bear Stearns Asset Management, Bresler & Reiner, Calpine, Delta Air Lines, Dynegy,
    Education Finance Partners, Empire City Casino, Fleming Companies, Foxwoods Resort
    Casino, Harry & David, Hawkeye Renewables, Hostess, Interstate Bakeries, Kodak, Marnell
    Sher Gaming LLC, Mercedes Homes, MoneyGram International, M Resort, R.H. Donnelley,
    Smurfit-Stone, Spansion, Station Casinos, TOUSA, Inc., Vitro America, LLC, and Vitro,
    S.A.B. de C.V. Mr. Genereux has provided expert witness testimony in several bankruptcy
    cases on valuation, capital structure and other financial matters. Before joining PJT, Mr.
    Genereux was a Director at Credit Suisse First Boston in the media and telecom group and
    previously was a Vice President in the investment banking division at Merrill Lynch & Co.
    Prior to Merrill Lynch, he worked for Barclays, PepsiCo and Price Waterhouse. Mr.
    Genereux received a BS from the School of Business and Accountancy at Wake Forest
    University and an MBA from the Graduate School of Business at Columbia University. Mr.
    Genereux is also on the Board of Visitors for the Schools of Business at Wake Forest.

   Jamie Baird. Jamie Baird is a Managing Director in the Restructuring and Special Situations
    Group at PJT Partners LP. Prior to joining PJT Partners, Mr. Baird worked at Blackstone for
    thirteen years. Mr. Baird has worked on a variety of restructuring and reorganization
    assignments, including: American General Finance, American International Group, Aquila,
    BCBG Max Azria, Bresler & Reiner, Borders Group, Cengage Learning, Covalent Materials
    Corp., Denon & Marantz, Detroit (City of) – for MBIA, Dura Automotive Systems, Ford,
    General Motors, Horsehead Industries, Houghton Mifflin Harcourt, International Lease
    Finance Corp., Jefferson County Sewer System (Birmingham, Ala.), Meridian Automotive
    Systems, The Minneapolis Star Tribune, Mohegan Tribal Gaming Authority, The Pacific
    Lumber Company, Paragon Offshore, Puerto Rico – for MBIA, Quiksilver, Sea research
    Foundation (Mystic Aquarium), School Specialty, SemGroup and Toshiba. Mr. Baird has
    assisted a number of these clients in managing their exposure to post-retirement employee
    benefits through the use of VEBA trusts. Mr. Baird was awarded recognition as part of the
    top 40 under 40 in the “Dealmaker” category as a turnaround advisor by The M&A Advisor
    in 2014. He frequently appears on panels and speaks at conferences and schools on
    restructuring-related topics. He currently serves as part of the President’s council at Mystic
    Aquarium. Mr. Baird received an AB from Bowdoin College and an MBA with honors from
    Columbia Business School.

   Joshua Abramson. Joshua Abramson is a Vice President in the Restructuring and Special
    Situations Group at PJT Partners LP. Mr. Abramson has advised companies and creditors in a
    variety of restructuring transactions, including Genco Shipping, Kerzner International
    Limited, Harry & David, Covalent Materials Corp, Nautilus Holdings, Targus Group,
    Caesars Entertainment Operating Company, Excel Maritime, and Central European
    Distribution Corporation. Before joining Blackstone, Mr. Abramson worked in the Interest
    Rate Derivatives Group at Lehman Brothers and Barclays Capital. Mr. Abramson received a
    B.A. from Wesleyan University. Mr. Abramson also received a JD from the University of
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    Pennsylvania Law School where he graduated Magna Cum Laude and Order of the Coif, and
    an MBA from the Wharton School of the University of Pennsylvania.

   Samuel Rappaport. Samuel Rappaport is an analyst in the Restructuring and Special
    Situations Group at PJT Partners LP. Mr. Rappaport has worked on several transactions,
    including Essar Steel Algoma and Magnetation. Mr. Rappaport received a B.S. in Economics
    from the Wharton School at the University of Pennsylvania, where he graduated Summa
    Cum Laude.
